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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


IN RE: SYNGENTA AG MIR 162                 )            MDL No. 2591
CORN LITIGATION,                           )
                                           )            Case No. 14-md-2591-JWL
This Document Relates to All Cases Except: )
                                           )
      The Delong Co., Inc. v. Syngenta AG, )
      et al., No. 17-2614                  )
                                           )
      Heartland Corn Prods. v. Syngenta    )
      Seeds, LLC, et al., No. 20-2168      )
                                           )
_______________________________________)


                              MEMORANDUM AND ORDER

         This matter arising from multi-district litigation (MDL) comes before the Court on

motions by the Kellogg plaintiffs to intervene (# 4503) and for a stay of the Court’s ruling

on the pending motion for partial disbursement of the Court’s attorney fee awards (Doc. #

4517). For the reasons set forth below, the Court denies those motions.

         This matter also comes before the Court on motions by Hossley-Embry, LLP; Paul

Byrd Law Firm, PLLC; and Shields Law Group, LLC (collectively “Shields”) for a stay of

any ruling by the Court on the motion for disbursement of fees (Doc. # 4535) and for oral

argument or a supplemental brief concerning the disbursement motion (Doc. # 4528).1 The

Court denies those motions as well.




         1
             Both motions were joined by Toups/Coffman Plaintiffs’ Counsel (Doc. ## 4537,
4532).
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       I.     Kellogg Plaintiffs’ Motion to Intervene

       At one time, this MDL included the suit titled Kellogg v. Watts Guerra, LLP, in

which certain farmers with claims against Syngenta brought suit against attorneys who

represented them with respect to those claims. In Kellogg, the plaintiffs’ claims included

a claim for forfeiture of attorney fees received by the attorney defendants for the litigation

against Syngenta. In a series of orders, the Court dismissed the Kellogg plaintiffs’ claims,

and those plaintiffs are presently appealing the orders of dismissal.

       The Kellogg plaintiffs now seek to intervene in this action for the purpose of

opposing settlement class counsel’s pending motion for partial disbursement of attorney

fees awarded by the Court. Specifically, the Kellogg plaintiffs request that approximately

$148,000,000 be held back and segregated from the fee award fund to cover their claim for

forfeiture of fees awarded to the Kellogg defendants.2

       The Court denies the request for intervention of right pursuant to Fed. R. Civ. P.

24(a). The Court has issued a judgment of dismissal of the Kellogg plaintiffs’ claims,

which judgment has not been stayed, and that judgment’s preclusive effect is immediate,

notwithstanding any appeal. See Coleman v. Tollefson, 135 S. Ct. 1759, 1764 (2015).

Thus, these plaintiffs presently have no legal claim to any fees received by the Kellogg

defendants. Accordingly, any disbursement of the fee awards will not “as a practical matter

impair or impede the movant’s ability to protect” a legal interest in those fees, as required

for intervention under Rule 24(a). See Fed. R. Civ. P. 24(a)(2).


       2
        In response to the disbursement motion, the Kellogg plaintiffs filed a notice in
which they set forth their arguments relating to the fees that they claim.
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       The Kellogg plaintiffs also seek permissive intervention pursuant to Fed. R. Civ. P.

24(b), which provides that a court “may” permit intervention by one with a claim that

shares a common question of law or fact with the main action, see id., although they devote

none of their argument to that request. Because the Kellogg plaintiffs presently have no

legal claim to the fees they seek to shield from disbursement, the Court in its discretion

denies the request for permissive intervention as well.



       II.      Kellogg Plaintiffs’ Motion for Stay

       The Kellogg plaintiffs also seek a stay of the Court’s consideration of the

disbursement motion.3 To the extent they seek a stay until their intervention motion is

decided, the motion for a stay is denied as moot, as the Court has now denied intervention.

To the extent they seek a further stay of 30 days to allow them to appeal the denial of

intervention or seek other relief from the Tenth Circuit, the Court also denies that motion.

The Kellogg plaintiffs have not shown any likelihood of success in their appeals from the

dismissal orders or in any appeal from the denial of intervention; nor have they shown

irreparable injury in the form of an inability to collect a judgment in the event they win

reversal of the dismissals and then prevail on their forfeiture claim. See Nikon v. Holder,

556 U.S. 418, 434 (2009) (most critical factors for a stay pending appeal are whether the

stay applicant has made a strong showing of a likelihood of success on the merits and

whether the applicant will be irreparably harmed absent a stay).



       3
           The Court previously denied the portion of this motion seeking the Court’s recusal.
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       III.   Shields’s Motion for Stay

       Shields filed a response brief in opposition to class counsel’s motion for partial

disbursement, in which it argued that the Court should not disburse any fees until all of the

appeals from the Court’s fee allocation and award orders have been resolved. Shields has

now also moved for a stay of any ruling by the Court on the motion for disbursement.

Thus, the relief sought by Shields in its motion – that there be no disbursement until after

the appeals are resolved – is also what Shields seeks in opposing the motion for

disbursement, and Shields makes the same arguments in both contexts. Accordingly, the

Court denies the motion for a stay, but in deciding the motion for disbursement, it will

consider the arguments made by all parties with respect to the motion for stay.4

       The Court also denies the additional request for relief contained in Shields’s reply

brief. The submission supporting the motion for an indicative ruling and the Court’s order

granting that motion make clear that the settlement agreement with the Watts attorneys and

the modification of the distribution of the fee awards do not affect any firm appealing the

Court’s fee orders.



       IV.    Shields’s Motion for Oral Argument or Further Briefing

       Finally, the Court denies Shields’s motion for oral argument or further briefing on

the motion for partial disbursement. Shields states in the motion that it seeks argument or


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        Granting the motion for immediate disbursement but then staying its effect until
the appeals are resolved would be tantamount to denying the motion for disbursement.
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further briefing to address the Court’s indicative ruling. Shields did not attach a proposed

sur-reply brief, however, and the only issue that it has indicated that it would address in

argument or further briefing is the issue of the Court’s jurisdiction to disburse fees in light

of the pending appeals. Shields has already addressed that issue, however, both in its

response to the disbursement motion (when the motion for an indicative ruling was

pending) and in its briefs supporting its stay motion (after the ruling had been issued) –

although it has still not addressed the arguments made by settlement counsel on that issue.5

In any event, the parties have now had ample opportunity to address any and all issues

relating to the disbursement motion. The Court therefore denies this motion, and it does

not anticipate allowing any further submissions on the disbursement motion, which it will

decide in due course.



       IT IS THEREFORE ORDERED BY THE COURT THAT the motions by the

Kellogg plaintiffs to intervene (# 4503) and for a stay of the Court’s ruling on the pending

motion for partial disbursement of the Court’s attorney fee awards (Doc. # 4517) are hereby

denied.


       5
         In addition, as the Court will explain further in ruling on the disbursement motion,
Shields appears to have willfully misrepresented what the Court did in the indicative ruling.
The Court made clear in that ruling that it was not disturbing its findings regarding the
reasonable allocations and awards of attorney fees (thus obviating the need for additional
findings under Rule 23(h) beyond those explaining the altered distribution) and that it was
merely agreeing to alter the distribution of fees from the claims administrator in accordance
with the private settlement agreement for the sake of efficiency.
       Shields’s inexactitude extends to the outdated case caption that it has been using.
In future filings, Shields is directed to use the correct caption used by the Court and other
parties.
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      IT IS FURTHER ORDERED BY THE COURT THAT the motions by Hossley-

Embry, LLP; Paul Byrd Law Firm, PLLC; and Shields Law Group, LLC for a stay of any

ruling by the Court on the motion for disbursement of fees (Doc. # 4535) and for oral

argument or a supplemental brief concerning the disbursement motion (Doc. # 4528) are

hereby denied.


      IT IS SO ORDERED.


      Dated this 31st day of December, 2020, in Kansas City, Kansas.

                                              s/ John W. Lungstrum
                                              John W. Lungstrum
                                              United States District Judge




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